 Case 4:22-cv-00691-O Document 231 Filed 07/05/23                     Page 1 of 2 PageID 4804



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                     §
                                                  §
          Plaintiffs,                             §
                                                  §
 v.                                               §
                                                  §
 BLACKHAWK MANUFACTURING                          §
 GROUP INC., et al.,                              §
                                                  §   Civil Action No. 4:22-cv-00691-O
          Intervenor Plaintiffs,                  §
                                                  §
 v.                                               §
                                                  §
 MERRICK GARLAND, et al.,                         §
                                                  §
          Defendants.                             §

                                       FINAL JUDGMENT

         This Judgment is issued pursuant to Fed. R. Civ. P. 58(a).

         This action came on for consideration by the Court, and the issues having been duly

considered and a decision duly rendered,

         It is ORDERED, ADJUDGED, and DECREED that:

      1. Plaintiffs’ and Intervenor-Plaintiffs’ motions for summary judgment on grounds that the

         Final Rule was issued in excess of ATF’s statutory jurisdiction (Counts I and III) are

         GRANTED and Defendants’ cross-motion for summary judgment as to those claims are

         DENIED.

      2. On these grounds, the Final Rule, Definition of “Frame or Receiver” and Identification of

         Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (codified at 27 C.F.R. pts. 447, 478, and

         479 (2022)), is hereby VACATED.
    Case 4:22-cv-00691-O Document 231 Filed 07/05/23                   Page 2 of 2 PageID 4805



     3. The parties’ remaining claims are DENIED as moot. 1

     4. All other relief not expressly granted herein is denied.

        SO ORDERED this 5th day of July, 2023.




                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE




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 Orig. Pls.’ Am. Compl., ECF No. 93 (claiming Final Rule: Exceeds Statutory Authority (Count I), Violates
APA’s Notice and Comment Requirement (Count II), Violates APA’s Ban on Arbitrary and Capricious
Conduct (Count III), Violates Nondelegation Principles (Count IV), Violates Take Care Clause (Count V),
Violates Due Process (Count VI), Violates the First Amendment (Count VII)).

See also BlackHawk’s Compl., ECF No. 99 (claiming Final Rule: Exceeds Statutory Authority (Count I),
Violates Separation of Powers (Count II), is Unconstitutionally Vague (Count III), is Arbitrary and
Capricious (Count IV), Violates the APA’s Procedural Requirements (Count V), Violates the
Nondelegation Doctrine (VI), is Contrary to Constitutional Right, Power, Privilege, or Immunity (VII),
Violates the Commerce Clause (VIII), Unlawfully Chills First Amendment Speech (IX), Constitutes an
Unconstitutional Taking Without Just Compensation (Count X)).

See also Defense Distributed, et al.’s Compl., ECF No. 143 (claiming Final Rule: Exceeds Statutory
Authority (Count I), Violates the APA’s Procedural Requirements (Counts II and IV), Violates Delegation
Principles (Count III), Violates the Second Amendment (Count V), Violates Due Process (Count VI)).

See also Polymer80’s Compl., ECF No. 229 (claiming Final Rule: Violates Separation of Powers (Count
I), Exceeds Statutory Authority (Count III), Violates Nondelegation Doctrine (Count V), Violates APA’s
Procedural Requirements (Counts VII and XII), is Arbitrary and Capricious (Count IX), Violates First
Amendment (Count XV), Violates Second Amendment (Count XIV), is Unconstitutionally Vague (Count
XIII), Exceeds Limits of Commerce Clause (Count XVI), Violates the Takings Clause (Count XVII)).

As discussed in the Court’s Memorandum Opinion, Polymer80, Inc. may move for summary judgment on
any remaining claims not mooted by the Court’s opinion. Mem. Opinion at 16, ECF No. 227. Polymer80
SHALL file a notice on the docket no later than July 12, 2023, informing the Court whether its remaining
claims are moot and, if so, proposing an order of Final Judgment as to those claims.

See also JSD Supply’s Compl., ECF No. 230 (claiming Final Rule: Exceeds Statutory Authority (Count I),
Violates Separation of Powers (Count II), is Unconstitutionally Vague (Count III), is Arbitrary and
Capricious (Count IV), Violates APA’s Procedural Requirements (Count V), Violates the Nondelegation
Doctrine (Count VI), is Contrary to Constitutional Right, Power or Privilege (Count VII), Violates the
Commerce Clause (Count VIII), Violates First Amendment (Count IX), Violates the Takings Clause (Count
X)).


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